 Fill in this information to identify the case:

 Debtor 1              Todd J. Eleuteri
                       __________________________________________________________________

 Debtor 2               Jeanette  P. Eleuteri
                        ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Middle DistrictDistrict of __________
                                                          of Pennsylvania

 Case number             23-00472                         HWV
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PNC Bank, N.A.
 Name of creditor: _______________________________________                                                        4
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           7 ____
                                                         ____ 2 ____
                                                                  9 ____
                                                                      8              Must be at least 21 days after date       11/15/2023
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                418.53
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      ✔ No
      
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
      ✔ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
      
                   (Court approval may be required before the payment change can take effect.)
                                       Daily Simple Interest Accrual for Billing Period
                   Reason for change: ___________________________________________________________________________________

                                                       428.93
                   Current mortgage payment: $ _______________                                                     418.53
                                                                                   New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1

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Debtor 1         Todd  J. Eleuteri
                 _______________________________________________________                                               23-00472
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ✔ I am the creditor.
     
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8 V Stephani Schul
     _____________________________________________________________
     Signature
                                                                                               Date     10/20/2023
                                                                                                        ___________________




 Print:             Stephani Schul
                    _________________________________________________________                  Title   Bankruptcy   Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            PNC Bank, N.A.
                    _________________________________________________________



 Address            PO Box 94982
                    _________________________________________________________
                    Number                 Street

                    Cleveland                        OH      44101
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      855-245-3814
                    ________________________                                                          bankruptcy.administration.internal@pnc.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2

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                               UNITEDSTATESBANKRUPTCYCOURT
                                Middle District of Pennsylvania (Harrisburg)

 INRE: Todd J. Eleuteri                             CaseNo. 23-00472
                                                      JudgeHenry W. Van Eck
        Jeanette P. Eleuteri
                                                      Chapter13



                                    CERTIFICATEOFSERVICEOF
                                NoticeofMortgagePaymentChange

  I,theundersigned,herebycertifythat,on 10/20/2023
                                                         ,atrueandcorrectcopyoftheNotice
ofMortgagePaymentChangewaselectronicallyserveduponthefollowingusingtheCourt’s
CM/ECFsystem:

Debtor’sAttorney:John Matthew Hyams
Trustee:Jack N Zaharopoulos
OfficeoftheUnitedStatesTrustee

                                         ,atrueandcorrectcopyoftheNoticeofMortgage
  Further,Icertifythat,on 10/20/2023
PaymentChangewasforwardedviaU.S.Mail,firstclasspostageprepaidandproperly
addressed,tothefollowingattheaddressshownbelow:

                                     148 Old Ford Dr.
Todd J. Eleuteri                     Camp Hill, PA 17011



                                     148 Old Ford Dr.
Jeanette P. Eleuteri                 Camp Hill, PA 17011



                                                                    By:/s/Stephani Schul
                                                                    Stephani Schul
                                                                    PNCBank,N.A.
                                                                    WKŽǆϵϰϵϴϮ
                                                                    ůĞǀĞůĂŶĚK,ϰϰϭϬϭ
                                                                    ϴϱϱͲϮϰϱͲϯϴϭϰ




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